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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND

JAMES BUECHLER,                              *

      Plaintiff,                             * Case No.: 11-cv-3283

v.                                           * Filed Electronically

BALWANT SINGH,                               * JURY TRIAL DEMANDED

and                                          *

USA LIQUORS LLC trading as *
JOHNSTON DISCOUNT LIQUORS
                           *
and DOES 1-10, inclusive,
                           *
    Defendants.
                           *

*     *        *  *   *   *  *  *   *   *    *  *                          *
              COMPLAINT AND DEMAND FOR JURY TRIAL

      James Buechler, (“Plaintiff”), hereby allege as follows:

                               INTRODUCTION

      1.       Plaintiff brings this action against Defendants alleging

violations of the Electronic Fund Transfer Act, 15 U.S.C. § 1693, et seq., and

its implementing regulations 12 C.F.R. § 205, et seq., (hereinafter referred

to collectively as the “EFTA”).

      2.       The EFTA establishes the basic rights, liabilities, and

responsibilities of consumers who use electronic fund transfer services and



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of financial institutions that offer these services. The primary objective of

the EFTA and its implementing regulation is the protection of consumers

engaging in electronic fund transfers. 12 C.F.R. § 205.1(b). The EFTA

requires that specific disclosures be given by operators of an automated

teller machine (“ATM”) to consumer users of an ATM, prior to the

imposition of a fee for using the ATM. 15 U.S.C. § 1693b.

     3.    The Congressional findings and declaration of purpose

regarding the EFTA are as follows:

           (a)      Rights and liabilities undefined

           The Congress finds that the use of electronic systems to
           transfer funds provides the potential for substantial
           benefits to consumers. However, due to the unique
           characteristics of such systems, the application of existing
           consumer protection legislation is unclear, leaving the
           rights and liabilities of consumers, financial institutions,
           and intermediaries in electronic fund transfers undefined.

           (b)      Purposes

           It is the purpose of this subchapter to provide a basic
           framework establishing the rights, liabilities, and
           responsibilities of participants in electronic fund transfer
           systems. The primary objective of this subchapter,
           however, is the provision of individual consumer rights.

15 U.S.C. § 1693.

     4.    There are over 350,000 ATMs located in the United States,

accounting for 13 billion transactions annually. Over 200 million



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consumers over the age of 18 have an ATM card. The average surcharge

imposed for use of an ATM is $2.00 per transaction. It is estimated that 3%

to 5% of an establishments’ daily foot traffic will use an ATM machine

located in the establishment. Thus, charging consumers for access to cash

from their checking and savings accounts is a $26 billion industry, on an

annual basis.

      5.     Among other things, the EFTA imposes certain disclosure

requirements upon operators of automated teller machines (“ATMs”).

      6.     15 U.S.C. § 1693b(d)(3)(A) requires any ATM operator who

imposes fees on consumers in connection with electronic fund transfers to

provide notice of the fact that the fee is being imposed and the amount of

the fee.1

      7.     15 U.S.C. § 1693b(d)(3)(B) identifies the location where the

required notice must be posted as follows:

             (B)   Notice requirements

                   (i)    On the machine



1      “Electronic fund transfer” is defined as “any transfer of funds, other than a
transaction originated by check, draft, or similar paper instrument, which is
initiated through an electronic terminal, telephonic instrument, or computer or
magnetic tape so as to order, instruct, or authorize a financial institution to debit
or credit an account. Such term includes, but is not limited to, point-of-sale
transfers, automated teller machine transactions, direct deposits or withdrawals
of funds, and transfers initiated by telephone . . . .” 15 U.S.C. § 1693a(6).

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            The notice required under clause (i) of subparagraph (A)
            with respect to any fee described in such subparagraph
            shall be posted in a prominent and conspicuous location
            on or at the automated teller machine at which the
            electronic fund transfer is initiated by the consumer.

                  (ii)   On the screen

            The notice required under clauses (i) and (ii) of
            subparagraph (A) with respect to any fee described in
            such subparagraph shall appear on the screen of the
            automated teller machine, or on a paper notice issued
            from such machine, after the transaction is initiated and
            before the consumer is irrevocably committed to
            completing the transaction . . . .

      8.    The relevant implementing regulation, 12 C.F.R. § 205.16(c),

reinforces EFTA’s statutory posting requirement, mandating that the

mandatory fee notice: 1) be posted in a “prominent and conspicuous

location” on or at the ATM machine; and, 2) “on the screen of the

automated teller machine or by providing it on paper, before the consumer

is committed to paying the fee.” 12 C.F.R. § 205.16(c)(1) and (2).

      9.    The implementing regulation also requires that the content of

the notice be “clear and readily understandable.”

      10.   15 U.S.C. § 1693b(d)(3)(C), and its implementing regulation, 12

C.F.R. 205.16(e), prohibit ATM operators from imposing a fee on a

consumer unless EFTA’s notice and posting requirements are followed by

the ATM operator.



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     11.      Specifically, 15 U.S.C. § 1693b(d)(3)(C) states, in relevant part:

              (C) Prohibition on fees not properly disclosed and
              explicitly assumed by the consumer.

                    No fee may be imposed by any automated teller
                    machine operator in connection with any electronic
                    fund transfer initiated by a consumer for which a
                    notice is required under subparagraph (A), unless—

                          (i)   The consumer receives such notice in
                                accordance with subparagraph (B) . . . .

    12.     In connection with 2006 amendments to the EFTA, the Board of

Governors of the Federal Reserve published its Final Rule and official staff

interpretation which, inter alia, explained the EFTA’s disclosure

requirements as follows:

              The final rule clarifies the two-part disclosure scheme
              established in Section 904(d)(3)(B) of the EFTA. The first
              disclosure, on ATM signage posted on or at the ATM,
              allows consumers to identify quickly ATMs that generally
              charge a fee for use. This disclosure is not intended to
              provide a complete disclosure of the fees associated with
              the particular type of transaction the consumer seeks to
              conduct. Until a consumer uses his or her card at an ATM,
              the ATM operator does not know whether a surcharge will
              be imposed for that particular consumer. Rather it is the
              second, more specific disclosure, made either on the ATM
              screen or on an ATM receipt, that informs the consumer
              before he or she is committed to the transaction whether,
              in fact, a fee will be imposed for the transaction and the
              amount of the fee . . . .

71 F.R. 1638, 1656.

     13.      On November 27, 2009, the Federal Deposit Insurance


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Corporation (“FDIC”) issued Financial Institution Letter 66-2009

reiterating the fact that the EFTA requires ATM operators to post ATM fee

notices both (a) in a prominent and conspicuous location on or at the

automated teller machine, and (b) on the screen or on paper before the

consumer is committed to paying a fee. The letter also noted that the FDIC

had first notified FDIC-supervised banks of these requirements in a

Financial Institution Letter dated March 23, 2001 (FIL-25-2001).

     14.   The EFTA imposes strict liability upon ATM operators which

fail to comply with its disclosure requirements. See, e.g., Flores v. Diamond

Bank, 2008 WL 4861511, *1 (N.D. Ill. Nov. 7, 2008)(Hibbler, J.)(“Among

the protections afforded to consumers is the right to receive notice from

ATM operator of the existence and amount of any fee that operator might

impose on consumers for conducting transactions at the ATM. 15 U.S.C. §

1693b(d)(3). This requires the ATM operator to place notice both on the

machine itself and upon the ATM screen. 15 U.S.C. § 1693b(d)(3)(B)”). A

plaintiff seeking statutory damages under the EFTA need not prove that he

or she has sustained any actual financial loss, or that he or she relied upon

the lack of mandatory disclosure as an inducement to enter into the

transaction. Burns v. First American Bank, 2006 WL 3754820, *6 (N.D. Ill.

Dec. 19 2006)(“Section 1693b(d)(3) prohibits an ATM operator from



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charging a fee unless it provides notice of its fee on the machine and on the

screen, period, no mention of a necessary scienter.”)

      15.   Enforcement of EFTA’s mandatory notice requirements is

conducted primarily by way of private litigation brought by consumers,

such as the Plaintiffs, who are experienced and knowledgeable of the notice

requirements of EFTA. As explained in House Report 95-1315, the EFTA’s

civil liability provision “is the backbone of enforcement of this legislation.”

The threat of lawsuits, such as this one, persuades responsible financial

institutions and ATM operators to “comply with the spirit and letter of the

law.” Without the civil liability provision, “a financial institution could

violate the [Statute] with respect to thousands of consumers without their

knowledge, if its financial impact was small enough or hard to discover.”

For this reason, the civil liability provision is “an essential part of

enforcement of the bill because, all too often, although many consumers

have been harmed, the actual damages in contrast to the legal costs to

individuals are not enough to encourage a consumer to sue.” Individual

enforcement actions are often the catalyst to ensuring compliance with the

statute and result in protecting future consumers from injury.

                     JURISDICTION AND VENUE

      16.   This Court has federal question jurisdiction pursuant to 28



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U.S.C. §1331 and 15 U.S.C. §1693, et seq.

      17.   Plaintiff’s claim asserted herein arose in this judicial district

and Defendants do substantial business in this judicial district.

      18.   Venue in this judicial district is proper under 28 U.S.C. §1391(b)

and (c) in that this is the judicial district in which a substantial part of the

acts and omissions giving rise to the claims occurred.

                                  PARTIES

      19.   Plaintiff is a natural person is a consumer.

      20.   Defendants Balwant Singh and USA Liquors LLC, trading as

Johnston’s Discount Liquors, own and operate the automated teller

machine located at Johnston’s Discount Liquor, 1170 Rock Spring Road,

Rising Sun, Maryland.

      21.   Defendants Balwant Singh and USA Liquors LLC are an

automated teller machine operator, as that term is defined by 12 C.F.R. §

205.16(a), which states: “Automated teller machine operator means any

person that operates an automated teller machine at which a consumer

initiates an electronic fund transfer or a balance inquiry and that does not

hold the account to or from which the transfer is made, or about which the

inquiry is made.”

      22.   The true names and capacities of defendants sued herein as



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Does 1 through 10, inclusive, are presently not known to Plaintiff who

therefore sues these defendants by such fictitious names. Plaintiff will seek

to amend this Complaint pursuant to Federal Rule of Civil Procedure 15

and include the Doe defendants’ true names and capacities when they are

ascertained. Each of the fictitiously named defendants is responsible in

some manner for the conduct alleged herein and for the injuries suffered by

Plaintiff as a result of Defendants’ wanton and illegal conduct.

      23.   Defendants Balwant Singh and USA Liquors LLC, and Does 1

through 10, inclusive, are collectively referred to as “Defendants.”

        FACTS RELATED TO PLAINTIFF’S TRANSACTION

      24.   On September 23, 2011, Plaintiff James Buechler made an

electronic fund transfer at an ATM operated by Defendants located at

Johnston’s Discount Liquor, 1170 Rock Spring Road, Rising Sun, Maryland.

See Exhibit 1. Plaintiff James Buechler did not hold an account with

Defendants.

      25.   At the time of the above-described electronic transaction,

Defendants were acting as an “automated teller machine operator” that

operated the automated teller machine at which Plaintiff James Buechler

initiated an electronic fund transfer.

      26.   Defendants charged Plaintiff James Buechler a “Terminal Fee”



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of $2.00 in connection with the above-described transactions. See Exhibit

1.

     27.   However, at the time of the above-described transaction, there

was no notice posted “on or at” the ATM operated by the Defendants

apprising consumers that a fee may be charged for use of the ATM. See

Exhibit 2, Exhibit 3, Exhibit 4, Exhibit 5.

     28.   Because Defendants did not post the required notice, they were

not permitted to charge any usage fee to Plaintiff James Buechler.

                                 COUNT I

     29.   15 U.S.C. § 1693b(d)(3)(A) provides that as a prerequisite to

imposition of a usage fee upon a consumer for host transfer services, an

automated teller machine operator must provide notice to the consumer

consistent with subparagraph (B) of that statutory section.

     30.   Subparagraph (B) of 15 U.S.C. § 1693(d)(3) provides:

           (B) Notice requirements

                 (iii)   On the machine

                 The notice required under clause (i) of
                 subparagraph (A) with respect to any fee described
                 in such subparagraph shall be posted in a
                 prominent and conspicuous location on or at the
                 automated teller machine at which the electronic
                 fund transfer is initiated by the consumer.

     31.   Subparagraph (C) of 15 U.S.C. § 1693b(d)(3) states:


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             (C) Prohibition on fees not properly disclosed and
             explicitly assumed by the consumer.

             No fee may be imposed by any automated teller machine
             operator in connection with any electronic fund transfer
             initiated by a consumer for which a notice is required
             under subparagraph (A), unless—

                  (i)   The consumer receives such notice in
                        accordance with subparagraph (B) . . . .

      32.    EFTA’s statutory notice requirements are reinforced by the

implementing regulations set forth at 12 C.F.R. § 205.16.

      33.    Defendants violated the notice requirements of EFTA in

connection with providing host transfer services to Plaintiff.

      34.    Defendants were prohibited from imposing any usage fee or

similar fee because they failed to comply with EFTA’s notice requirements.

      35.    15 U.S.C. § 1693m provides that a defendant shall be liable to

plaintiffs for violations of 15 U.S.C. § 1693b for any actual damage

sustained by the consumer as the result of the failure to comply with EFTA;

statutory damages in an amount of not less than $100 nor greater than

$1,000; costs of the action and a reasonable attorney’s fee as determined by

the court.

      36.    Plaintiff sustained actual damages as the result of the

Defendants’ failure to comply with EFTA including damages for

inconvenience, legal fees, loss of the use of funds and pre-judgment


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interest.

      37.   On November 27, 2009, the Federal Deposit Insurance

Corporation (“FDIC”) issued Financial Institution Letter 66-2009

reiterating the fact that the EFTA requires ATM operators to post ATM fee

notices both (a) in a prominent and conspicuous location on or at the

automated teller machine, and (b) on the screen or on paper before the

consumer is committed to paying a fee. The letter also noted that the FDIC

had first notified FDIC-supervised banks of these requirements in a

Financial Institution Letter dated March 23, 2001 (FIL-25-2001).

      38.   By way of this action, Plaintiff seeks actual damages, statutory

damages, costs of suit and attorneys’ fees.

                          PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for:

      1.    An award of actual damages of $1,000.00;

      2.    An award of statutory damages of $1,000.00 ;

      3.    Payment of costs of suit; and,

      4.    Payment of reasonable attorneys’ fees.

                              JURY DEMAND

      Plaintiff demands a trial by jury on all claims so triable.




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Dated: November 16, 2011       Respectfully Submitted,



                                    /s/ E. David Hoskins
                               E. David Hoskins, Bar No. 516554
                               THE LAW OFFICES OF E. DAVID HOSKINS, LLC
                               Quadrangle Building at Cross Keys
                               2 Hamill Road, Ste. 362
                               Baltimore, Maryland 21210
                               (410) 662-6500 (Tel.)
                               (410) 662-7800 (Fax)
                               dhoskins@hoskinslaw.com

Albany Office:

90 State Street, Ste. 700
Albany, New York 12207
(518) 935-2672




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